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UNITED STATES DISTRICT COURT
WESTERN DlsTRICT OF TENNESSEE 05 JU;\: .,9 PM w 35
EASTERN DIVISION

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ROBERT CARR, V.\!D. ¢.'.)§"4- tit z»wrrr“rtz;‘

Plaintiff
v.

No. l:02-01203-Bre-P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

`/`_/\_/`\_¢\-/\-/\-/\_/\_/V

Defendants

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties below, that all deadlines be held in
abeyance until after a scheduled Status Ccnference on June 24, 2005. This matter being
agreeable With the Coul't, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the
scheduled Status Cc)nference on June 24, 2005.

nated: this l day of juan ,2005.

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UNITED STATES-B-I-S»:F'RI'€:F JUDGE

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CERTIFICATE OF SERVICE

1 certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dil]ard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

Colurnbia, SC 29201 on Jun , 2005.

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By:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 51 in
case 1:02-CV-01203 Was distributed by faX, mail, or direct printing on
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Honorable .l. Breen
US DISTRICT COURT

